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Attorneys for Plaintiff,

SHARON KIRKLAND

 

DATED: December 22,' 2015

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

EASTERN DIVISION
SHARON KIRKLAND, ) Case No.: 5:15-cv-2445
)
_ ' ) PLAINTIFF’S NOTICE OF
Plamtlff, ) voLUNTARY DISMISSAL wITH
) PREJUDICE PURSUANT TO FEDERAL
V- ) RULE OF CIVIL PROCEDURE 41(a)(1)
ARS NATIONAL SERVICES, INC., § ~
Defendant. §

PLEASE TAKE NOTICE that Plaintiff Sharon Kirkland, pursuant to Fed. R. Civ. P.
41(a)(l)(A)(i), giyes notice that she voluntarily dismisses all claims in this action as to herself in
her individual capacity with Qreg'udice. Defendant ARS National Services, Inc. has neither
answered Plaintift"s Complaint, nor filed a motion for summary judgment Accordingly, this

matter may be dismissed with prejudice without an Order of the Court.

RESPECTFULLY SUBMITTED,

WESTGATE LAW

By: /s/ Matthew A. Rosenthal
Matthew A. Rosenthal
Attorney for Plaintiff

NOTICE OF SETTLEMENT
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Filed 12/23/15 Page 1 of 1 Page |D #:

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UNQ‘E/l) STATES D|STRICT JUDG

 

 

 

 

